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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


 JAKUBMADEJ                                          CML ACTION No.
                                                                         20 cv 991 (JCH)
         Plaintiff,
 v.
                                                     JURY TRIAL DEMANDED
 YALE UNIVERSITY, YALE HEALTH
                                                     JULY 15, 2020
         Defendants.




                                           COMPLAINT


       Plaintiff Jak:ub Madej, by and through the undersigned counsel, files this Complaint

against defendants Yale University and Yale Health, and respectfully alleges as follows:



                                        INTRODUCTION

       This action arises from the fraud perpetrated by Yale University, whose sernor

management regularly and secretly accessed student psychiatric information collected at an on-

campus clinic without patients' knowledge or consent as part of University's "enterprise risk

management" program. The scheme was implemented after several students committed suicide in

2014, bringing nationwide negative publicity to Yale. Conspirators orchestrated the scheme to

leave no physical trace of disclosure, and succeeded in involuntarily withdrawing tens of

undergraduates designated as "reputational threats" by Yale's business judgment. Yale Health's

leadership has lmowingly participated in the conspiracy, exploited the false sense of security for

University's self-gain, and continually turned a blind eye to moral qualms. Yale's unconscionable

betrayal of trust that Yale students freely extend to the University continues to this day.
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                                              PARTIES

1.   Plaintiff Jakub Madej resides in New Haven, Connecticut.

2.   Yale University is a 501 ( c) ( 3) higher education corporation headquartered in New Haven,

     Connecticut.

3.   Yale Health is a medical clinic on the Yale campus. Yale Health offers mental health and

     counseling services ("MH&C") for Yale students. Yale Health is located at 55 Lock St in

     New Haven, Connecticut.




                                TURISDICTION AND VENUE

4.   This Court has original diversity jurisdiction over this dispute under 28 U.S.C. §1332

     because:

        1.   Yale and Jakub are citizens of different states;

       ii.   The amount in controversy exceeds $75,000, exclusive of interest and costs.

5.   This Court has personal jurisdiction over Yale because it conducts business in Connecticut.

6.   Venue is proper in this district under 28 U.S.C. § 1391(6)(1) and (2) because

       1.    Yale resides in this district;

      n.     The acts giving rise to this lawsuit occurred within this District.




                                        BACKGROUND

7.   Yale University operates in the business of higher education. Its business model has three

     main prongs:


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         1.       Yale sells undergraduate students its education services in exchange for tuition;

        ii.       Yale pays "scholarships" to Ph.D. candidates, who perform a lion share of

                  teaching duties that encompass the educational services mentioned above;

       111.       Yale hires faculty, who turn a portion of each taxpayer-funded grant to the

                  University's budget.

8.    Yale has been regarded as perhaps the most prestigious college in the country for decades.

9.    The Yale brand is widely recognized outside the United States, and the Yale education is

      highly desirable in Asia.

10.   At least thirty businesses in China alone offer consulting services priced at over $100,000

      to help prospective students secure admission to Yale.

11.   Yale's most valuable asset is its reputation, valued in billions of dollars.

12.   Today's uncertain environment poses constant threats to Yale's reputation. Every

      unfavorable event, especially if publicized, threatens the University's position among its

      peer universities.

13.   Every college is scrambling to find ways to prevent or mitigate those risks, a task essential

      to long-term sustainability of their organizations.

14.   Psychological concerns are widespread among students in higher education, especially at

      Yale.

15.   Anxiety is the top presenting concern among college students ( 41. 6 percent), followed by

      depression (36.4 percent) and relationship problems (35.8 percent), according to the

      American Psychological Association.




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16.   Students that exhibit mental health concerns pose a discernible reputational threat to Yale

      University in that Yale perceives them as more likely to engender legal liability, provoke

      undesirable events, and give rise to negative publicity to the University.

17.   United Educators (UE) is an organization that provides liability insurance and risk

      management services to more than 1,600 colleges and universities throughout the United

      States. As one of seven "reputational risk management best practices", UE recommends

      establishing "a monitoring system that will give early notification to emerging reputational

      damage to your institution".

18.   "The mechanism for monitoring, tracking, and responding should be :flexible enough to

      encompass unforeseen events but focused so that the institution is scanning the

      environment and surprises are minimal," UE writes.

19.   On or around 2014, several Yale undergraduates committed suicide, which triggered

      nationwide attention and an on-campus debate about the state of mental health at Yale.

20.   Faced with an unpredictable and rising risk, Yale administrators started accessing student

      psychiatric information from Yale Health, an on-campus clinic that offers "completely free"

      mental health services to all Yale students, to learn which individuals are more likely to

      pose a reputational threat to Yale.

21.   Yale administration has used student psychiatric information to select more "risky"

      students, involuntarily withdraw them "for mental health reasons", and to intimidate

      students who sought redress outside the University.




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22.   Yale administration has ensured that it leaves no written record of disclosure, thus

      preventing its students from ever being able to learn that their psychiatric information was

      accessed.

23.   Upon information and belief, Yale regularly pressures students to declare in writing that

      their withdrawals were voluntary as a business practice to avoid legal liability from students

      that have been wronged.




24.   Plaintiff has enrolled as an undergraduate student at Yale College in August 2016.

25.   Plaintiff has been treated for depression and attention deficit disorder, and took

      psychotropic medication as part of his treatment.

26.   In May 2018, plaintiff has been brutally stabbed in broad daylight on the streets of

      Johannesburg, South Africa. The muggers cut plaintiff's radial artery, and he lost nearly a

      liter of blood before being miraculously rescued. Plaintiffs slowly recovered over several

      weeks. After this incident, plaintiff exhibited symptoms of post-traumatic stress disorder

      (PTSD).

27.   In 2018, Yale University widely advertised mental health and counseling services offered

      by Yale Health. Plaintiff learned about MH&C services from official materials published by

      the University and shared among students through email. See .Exhibit A.

28.   The University emphasized that information discussed with mental health counselors and

      psychiatrists at Yale Health is held in the strictest confidence.

29.   Yale Health makes identical representations in its official materials, for example:




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              "Mental Health & Counseling records for Yale students are separate from other
              medical records, are excluded from the electronic medical record, and are kept in
              a locked room in Mental Health & Counseling."

              "Mental Health & Counseling will not release information about a patient to
              anyone including Heads of College, Deans, parents, family, friends, coaches,
              employers, or the government without your permission."

              "Everything discussed with a mental health clinician is held in strictest confidence
              and is not communicated to anyone without your permission, except in the rare
              instance of a life-threatening situation."

              "Strict standards of confidentiality are always maintained."

                                                                               (emphasis added)



30.   Yale Health explicitly represented to plaintiff, and all other Yale students, that their

      " [mental health] records are not released to anyone- including other Yale Health clinicians

      or administrative personnel -without your permission" ( emphasis added).

31.   Yale Health stores on its website a form styled "Authorization for Release of Mental Health

      Record", ostensibly as a lawful mechanism to obtain permission to release students'

      psychiatric information to third-parties. See Exhibit B.

32.   "Without receipt of this completed form parents or any other persons will not have access

      to your health information," Yale emphasized.

33.   Relying on these representations, plaintiff scheduled an initial visit at MH&C department

      of Yale Health. Plaintiff was matched with a psychiatrist, and has had appointments with

      two psychiatrists and one therapist.

34.   In January 2020, Plaintiff was involuntarily withdrawn from Yale College. Suspicious

      about the inner workings of Yale, he investigated Yale's practices and filed a suit, which is

      co-pending in this District.


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35.    At all relevant times, Yale College had accessed plaintiffs psychiatric information, used

       them to retaliate against the plaintiff and pressure him to drop his investigation and legal

       action against Yale.

36.    In March 2020, Yale Health has released plaintiffs psychiatric information to Yale

       University senior management, who forwarded them to several third-party individuals.

3 7.   Later in March, Plaintiff requested a list of all disclosures of his medical information that

       Yale Health, or other Yale entities, have made since 2016 until that day.

38.    In response, Yale Health's Chief Privacy Officer represented that no disclosure has been

       made.

39.    Devoid of any shame, Yale requested that plaintiff sign a blanket disclosure permitting a

       release of his medical records to, essentially, everyone. See Exhibit C.

40.    Yale University continues to regularly and secretly access student psychiatric information

       to this day.



                                       COUNT I - FRAUD
                                        (Yale University)

41 .   Plaintiff incorporates the foregoing paragraphs by reference.

42.    Connecticut law makes it unlawful for any organization to knowingly make false

       representations of fact, or to conceal material facts, to induce action by another party, to

       the detriment of that party.




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43.    Yale University committed fraud under Connecticut law when it intentionally and falsely

       represented to Plaintiff that it has no means to, and would not access Plaintiff's psychiatric

       records without his consent.

44.    At all relevant times, Yale knew that Plaintiff would trust its representations, that Plaintiff

       would not question Yale's representations, and that Plaintiff had no way to independently

       verify the truthfulness of University's statements.

45.    At all relevant times, Yale intended to deceive Plaintiff that MH&C services are confidential

       when, in fact, Yale regularly and secretly accessed students' psychiatric records for its

       business purposes.

46.    Yale committed fraud under Connecticut law when it failed to disclose that its management

       regularly accessed students' mental health records without their knowledge or consent.

47.    Yale committed fraud under Connecticut law when its management accessed Plaintiff's

       psychiatric records without his knowledge or consent, while representing that Defendant

       did not access them.

48.    Yale intended to use its false representations and their misrepresentations and

       concealments to retaliate against and injure plaintiff in the co-pending case, and did in fact

       use them for that purpose.

49.    Yale's conduct exhibited reckless disregard for the truth, and are unconscionable in a

       civilized society.

5 0.   As a direct and proximate consequence of the conduct by Yale, Plaintiff has been injured in

       his business and life, causing Plaintiff to suffer monetary damages in an amount not less

       than $700,000, said damages to be proven at the time of trial.


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51.    Because of Defendant's frauds as described herein, Defendant is liable to Plaintiff for costs

       and disbursements in an amount to be determined at trial.

52.    Defendant's conduct as alleged above was done in furtherance of its own private interests,

       and was willful, malicious, wanton, and oppressive, and done with conscious and callous

       indifference to the consequences and with specific intent to harm. Accordingly, Plaintiff is

       entitled to an award of punitive damages from Defendant in an amount to be proven at

       trial and sufficient to punish, penalize and deter Defendant from engaging in such conduct

       in the future.



                                      COUNT II - FRAUD
                                        (Yale Health)

53.    Plaintiff incorporates the foregoing paragraphs by reference.

54.    Connecticut law makes it unlawful for any organization to knowingly make false

       representations of fact, or to conceal material facts, to induce action by another party, to

       the detriment of that party.

5 5.   From 201 7 through the present, Yale Health has intentionally and falsely represented to

       Plaintiff that his psychiatric information is held confidential, separately from other medical

       records, and is not made available to anyone without Plaintiffs explicit consent when, in

       fact, Yale Health regularly permitted and enabled Yale University administration to access

       this confidential and sensitive information.

56.    At all relevant times, Yale Health falsely represented, and continues to represent, that Yale

       students' psychiatric records are kept separate from other medical records in a locked room,



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       and are excluded from the electronic medical record when, in fact, they are easily accessible

       to anyone within Yale senior management.

57.    From 2017 through the present, Yale Health has intentionally and falsely represented to

       Plaintiff that it informs patients of their rights to approve or refuse release of their

       psychiatric information to any individual outside the facility, and assure the confidential

       treatment of patients' personal and medical records when, in fact, Yale Health never took

       such actions, nor had it intendeds to take them.

5 8.   At all relevant times, Yale Health knew that Plaintiff had no reason to question the veracity

       of its representations, and that Plaintiff lacked an ability to independently verify the

       truthfulness of Yale Health's statements.

59.    Yale Health has intentionally and falsely represented, and continues to represent, that it

       ensures each patient:

          1.   is fully informed of their rights, and of all rules and regulations governing patient

               conduct;

         ii.   is assured confidential treatment of their personal and medical records;

        111.   may approve or refuse their release to any individual outside the facility;

        1v.    is fully informed of the existence of business relationships between Yale Health and

               other healthcare providers or commercial entities;

         v.    has their privacy respected;

        vi.    is treated with consideration, respect, dignity, and individuality including privacy

               in treatment and care.




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60.   Yale Health made its representations to induce Yale students, including the plaintiff, to

      seek mental health treatment on campus rather than elsewhere, and to create a perception

      of quality services while preserving the unimpeded access to students' most sensitive

      information in furtherance of Yale University's business interests.

61.   Plaintiff did not know at the time Yale Health represented its services as "confidential

      therapy" that his records were surveilled, and could be, and in fact were, accessed at will by

      the University without permission, as a sham arrangement to circumvent lawful business

      practices.

62.   Plaintiff justifiably relied upon Yale Health's false representations, misrepresentations, and

      omissions, and had no means to discover Yale Health's deceit.

63.   Yale Health acted with knowledge and reckless disregard as to the truth of its

      communications described herein.

64.   Yale Health perpetrated a fraud upon Plaintiff as set forth above.

65.   As a direct and proximate consequence of Yale Health's material misrepresentations,

      omissions, transactions, practices, and course of business, Plaintiff suffered damages.

66.   Yale Health's fraud caused Plaintiff to suffer monetary damages in an amount not less than

      $700,000, to be proven at trial.

67.   Defendants' conduct as alleged above was done in furtherance of their own private

      interests, and was willful, malicious, wanton, and oppressive, and done with conscious and

      callous indifference to the consequences and with specific intent to harm. Accordingly,

      Plaintiff is entitled to an award of punitive damages from Defendants and each of them in




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      an amount to be proven at trial but no less than $5.5 million and sufficient to punish,

      penalize and deter Defendants from engaging in such conduct in the future.




          COUNT III - THE CONNECTICUT UNFAIR TRADE PRACTICES ACT
                           Conn. Gen. Stat.§ 42-1 lOb(a)
                            (Yale University, Yale Health)


68.   The Connecticut Unfair Trade Practices Act prohibits any person or entity from engaging

      in deceptive acts or practices, as well as unfair acts or practices in the conduct of any trade

      or commerce.

69.   The elements of a deceptive act or practice under CUTPA are as follows:

         1.   There must be a representation, omission or other practice likely to mislead

              consumers;

        n.    Consumers must interpret the message, omission or practice reasonably under the

              circumstances;

       iii.   The misleading representation, omission or practice must be material - that is,

              likely to affect consumer decisions or conduct.


      Caldor, Inc. v. Heslin, 215 Conn. 590, 597, 577 A.2d 1009 (1990).


70.   At all relevant times, Yale University offered educational services in Connecticut. Tied in

      every contract extended by Yale to its students is "free" access to mental health and

      counseling services at Yale Health.




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71.    Strict confidentiality is a material element of every relationship between a patient seeking

       mental health treatment and the institution providing that treatment. In other words, a

       reasonable student would refuse to accept Yale Health's services had she known that her

       information is not protected and might, and likely would, be used against her.

72.    It is an industry standard, and an ordinary common sense, that a mental health provider

       must obtain informed consent of any individual to release any psychiatric information of

       that individual to other people or entities.

73.    Yale University and Yale Health falsely represented that Yale Health's mental health

       services are confidential, as outlined above.

7 4.   Plaintiff entered into a direct customer relationship with Yale University by enrolling in its

       educational program. Access to MH&C services was an integral and material part of that

       relationship.

75.    Plaintiff entered into a direct consumer relationship with Yale Health by using its MH&C

       services.

76.    Yale University knew that students would rely on Yale's promise, had reason to believe that

       Yale was offering fully honest services, and would not investigate Yale's business practices.

77.    At no time throughout plaintiffs relationship with Yale Health did Yale University reveal

       that it regularly accessed plaintiffs psychiatric information without knowledge or consent.

78.    Yale University and Yale Health breached CUTPA by, without limitation:

         i.    intentionally and falsely misrepresenting that its mental health services are

               confidential;




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        ii.   falsely representing that Yale Health adequately safeguards student psychiatric

              information;

       111.   intentionally accessing students' and Plaintiffs psychiatric records without ever

              intending to seek their permission, agreement, or consent;

       1v.    failing to provide clear information about its unethical business practices;

        v.    misleading their customers, including Plaintiff, that they have rights to confidential

              treatment when, in fact, they took affirmative steps to deprive customers, including

              Plaintiff, of any ability to enforce these rights;

       v1.    impeding students' ability to understand their rights as customers of Yale Health,

              which is necessary element for students to make an informed decision to agree, or

              decline, Yale Health's services.

79.   Yale has intentionally and persistently misrepresented the material elements of its conduct

      that remained unknown to Yale's customers.

80.   Yale University's trade practices, as outlined above, offend public policy and constitute an

      unconscionable betrayal of trust between Yale and its students in that no reasonable

      customer would agree to them.

81.   Yale's conduct was unethical and unscrupulous because its victims were in no position to

      identify Yale's dishonest conduct, meaningfully question it, and seek any redress.

82.   Yale's trade practices are immoral, unethical, oppressive and unscrupulous in that they

      targeted students in their most vulnerable moments, when they were least likely to

      understand Yale's unlawful conduct and question its deceptiveness.




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83.         Yale's conduct was unfair and deceptive because Yale never sought, or intended to seek,

            patients' permission to access their psychiatric records before doing so, knowing that any

            reasonable consumer would decline to consent to such access.

84.         Yale students, including Plaintiff, could not reasonably have avoided injury arising from

            Yale's unlawful conduct.

85.         Defendant's conduct was done with a reckless indifference to the plaintiffs rights in a

            fashion that is utterly intolerable in a civilized society.

86.         Yale has attempted to conceal its misrepresentations or was an intentional or wanton

            violation of those rights, as outlined above.

8 7.        As a direct and proximate result of Yale's deceptive conduct, Plaintiff suffered an

            ascertainable loss in that he was deprived of his privacy, sense of dignity, and suffered

            damages, both physical and mental.

88.         Plaintiff is entitled to punitive damages at an amount to be determined at trial but no less

            than $1,000,000, attorney's fees and costs.




                                            PRAYER FOR RELIEF

            WHEREFORE, Plaintiff prays for judgment in his favor and against the Defendants as

follows:


       A.   Entering an order enjoining Yale University, along with their agents, employees, and those

            acting in concert therewith, from accessing student psychiatric information;




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    B.   Awarding Plaintiff monetary damages in an amount not less than $700,000, said amount

         to be proven at trial;

    c. Awarding Plaintiff its litigation expenses, including reasonable attorneys' fees, costs, and

         disbursements;

    D.   Awarding Plaintiff punitive damages in the sum of not less than $5,500,000 or an amount

         otherwise to be decided by a jury; and

    E.   Granting such other relief as the case may require or as may be deemed proper and

         equitable.




                                   DEMAND FOR TURYTRIAL

         Jakub Madej demands a trial by jury of all triable issues, pursuant to Rule 38 of the Federal

Rules of Civil Procedure.




                                   RESERVATION OF RIGHTS

         Plaintiff reserves its right to further amend this Complaint, upon completion of its

investigation and discovery, to assert any additional claims for relief against Defendants or other

parties as may be warranted under the circumstances and as allowed by law.




                                                               Respectfully submitted,
                                                               /s/ Jalrub Madej
                                                               J akub J. Madej



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                                               Counsel for Plaintiff

Dated: July 15, 2020.




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                EXHIBIT A
                                                                              Case 3:20-cv-00991-JCH Document 1 Filed 07/15/20 Page 19 of 24
                                                                                                                                                                     *
                     Commonly Asked Questions

                     What percentage ofthe undergraduate student
                     populatlon seeks mental health counseling at Yale
                     Health!
                     One-half of all undergraduates obtains mental health
                     counseling from Yale Health at some point during their
                     four years at Yale.

                        Does Yale Health Basic Covl!rage (provided as part of my
                        tuition) cover the services of Yale Health's Mental Health
                        & Counseling Department?
                        Yes. Every enrolled, full-time Yale student can access
                        the services of Mental Health & Counseling free of
                        charge regardless of his or her insurance plan.

                        What If I feel my therapist Is not a good match for mel
                        You may ask to change therapists.
                                                                                                                                   Viii Htalth
                        Where is Mental Health & Counseling located!                                                               Mefltll Helilth • CAlltlsllll"I
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                        At the Yale Health Center, 55 Lock Street, on the
                                                                                                                                   ,.0,ao.1olb!7
                        third floor.                                                                                               , -.._n,a o6P~"8:rJ1

*                       EEi
                        Information discussed with a mental health
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                        counselor Is held In the strictest confidence,                                                             ,8:JOAm-s,oopm

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                About Mental Health                                           Services                                                     Confidentiality
                8t Counseling                                                 INDIVIDUAL THERAPV                                           Everything discussed with a mental health clinician is
                 The Mental Health & Counseling Department at                 Individual therapy consists of weekly one-on-one             held in strictest confidence and is not communicated
                 Yale Health is committed to providing care for the           sessions. Each therapy session is usually 45 minutes         ro anyone without your permission, except in the rare
                 mental health concerns of undagraduate, graduate and         long. The therapy is short-term and planned on an            instance of a life-threatening situation.
                 professional school students. There is a diverse staff       individual basis.
                 of mental health professionals including psychiatrists,                                                                   Online Screenings
                                                                              COUPLES THERAPY
                 clinical psychologists and clinical social workers.
                                                                              Couples therapy is available for student couples provided    Yale Health offers free anonymou., and confidential
                 EB Evety enrolled student Is ellglble for services, as an,   that both partners are Yale Health members covered under     online screenings to all Yale students. Available
                 th0<e spouses and dvll union partners who are Vale           the student plan.                                            screenings include:
                 Health members.                                                                                                                depression
                                                                              GROUP THERAPY                                                    anxiety
                 There is no cost for these services. Strict standards of
                                                                              Group therapy is an opportunity to meet with four to             eating disorders
                 confidentiality are always maintained. The office.s arc
                                                                              six other students with a therapist to share and discuss         alcohol misuse
                 located on the third floor of the Yale Health Center.
                                                                              concL-rns in a confidential, safe environment. Groups meet       post-traumatic stress disorder
                                                                              once a week.                                                 To access the screening, visit
                 THE FIRST VISIT
                 Appointments for an initial consultation can be made                                                                      yalthtalth.yale.tdu/menralhulth
                                                                              M!DICATION
                 by phone (203 4µ 0290) or in person, Monday                  Medication is prescribed when appropriate in the context
                 through Friday, 8:30 am-5:60 pm. Appointment                 of ongoing treatment.
                                                                                                                                           SHARE Center
@                times fur the initial visit are generally available within

                                                                                                                                                                                                                            *
                                                                                                                                           SEXUAL HARASSMENT II ASSAULT RESPONSE AND
                 two or three days, and can be set up the same day in                                                                      EDUCATION
                 urgent sinµtions. During the initial consultation, you       Students 51!1!.k COUMetlngfunnany dffferent reasons,         SHARE is here to help students who have experienced
                 can discuss your concerns and treatment options with a       1ncludlng,                                                   sexual assault, intimate partner violence, harassment,
                 mental health professional.                                                                                               abuse, or any other form of sexual misconduct Some
                                                                              atlldtmlc stres.s              Ion.and grief
                                                                                                                                           students call the hotline just once, while o:hers follow
                 WHAT COMES NEXT                                              adjusttn~ldtftidJltl~          obsenlQ!IS                    up with individual or group counseling. SHARE's
                 If you decide to begin a course of treatment, you will                                      parental divo,ce              professional staff can facilitate any actions a survivor
                                                                              altohol/dnsg use
                 be matched with a therapist who will contact you to                                                                       wishes to take: seeking medical treatment, pursuing
                                                                              an•lcty                        relatlons~lp.s,
                 set up the next appointment                                                                                               informal remedies, filing a disciplinary complaint,
                                                                                                              hmll)'
                                                                              bodylmpg.e luues
                                                                                                              fllends                      and/or making a police report.
                 EMERGENCY II AFTER HOURS CARE                                tompetltlQn co11"'"'            romantic
                                                                                                                                   -
                                                                                                              100mrnatu                    83 If you -nt lo talk with a counselor right away call our
                 IJJ Care Is avanable 24/7 throushout the entire year.        '°mpulslons                                                  24-hour hotline (>03 43• zooo), For other que,tions or lo
                 Mental health professionals are available 24/7 for                                          sclf.est~,:m Issue.           make an appolntmfflt, call our office, Manday':hrou1h Friday,
                                                                              depr~Jon
                                                                                                             sc~ual contems                8:30 •m - 5100 pm (203 4;µ 6653). We are here lo help.
                 emergency and urgent situations. Monday through              titting concerns
                 Friday from 8:30 am-5:00 pm call 203 4µ 0290 or                                             sel<Ua.l orlentrtrori and     The SHARE Center is located on the lower level of the
                 come into the clinic in person. Evenings after
                                                                              f'a!lllly or persooal lllneu                                 Yale Health Center.
                                                                                                             ldtnttly
                 5:00 pm, weekends, and holidays call 203 4µ 0123 or          py/lc.1bi•l1/blse~ualf
                                                                                                             tnnonatlc expr_rlences        For more information and resources, visitshti.-.anter.yale.tdu.
                 come into Acute Care and ask for the Mental Health &         tiansgMder IJ.Sues
                 Counseling clinician on call.

                                                                                                                                           call 203 432 0290
    l   2l!UO.indd. 2                                                                                        @                                                                                         7/)112 11:09PM   I
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                EXHIBITB
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 Yale HEALTH
      Mental Health Counseling
                           &
               PO Box 20823 7
               New Haven, CT 06520-8237
               Phone: 203-432-0290 Fax: 203-432-8458


          AUTHORIZATION FOR RJ£LJ£ASE OF MENTAL HEALTH RECORD
                                        (Also known as Protected Health Infonnation)

PA TlENT NAME                                                                      Date of Birth - --
                  - - - - - -- - - - - - - - - - --                                                        - -- -
Address (Mailing)                                                                  Phone
                  - - -- - -- - -- - - - - - -                                             - -- -- - - - -
J authorize Yale Health Department of Mental Health & Counseling to use or disclose infonnation from my mental
health record, which may include information about psychiatric diagnosis and treatment and substance abuse issues
to:

Name:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Phone _ _ _ _ _ _ _ _ _ __ _

Address:_ _ __ _ __ _ __ _ __ _ __ _                             FAX _ _ _ _ _ ~ --                   -



Dates of Treatment:
                        ----- - - - - - - - - - - - - - - -- -- -- - - -
Infonnation to be released (Please describe) _ _ __ _ _ _ __ __ _ _ _ _ _ __ _

Purpose of Disclosure _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ __ _ _ _ _ _ __


     I.    I understand that, unless withdrawn, this authorization will expire 180 days from the date of signature. A photocopy of
          this fonn will be considered as valid as the original.
    2.    I understand that I may revoke this authorization at any time by notifying the Department of Mental Health &
          Counseling at the address indicated above in writing, and this authorization will cease to be effective on the date
          notified except to the e:1.1ent action has already been taken in reliance upon it.
    3.    I understand that infonnation used or disclosed pursuant to this authorization may be subject to re-disclosure by the
          recipient and no longer be protected by Federal privacy regulation . However, other state or federal law may prohibit
          the recipient from disclosing specially protected infonnation, such as substance abuse treatment information and
          mental health infonnation.
    4.    1 understand that my refusal to sign this Authorization will not jeopardize my right to obtain present or future
          treatment for psychiatric disabilities except where disclosure of the infonnation is necessary for the treatment.
    5.    My heal.th care and payment for my health care at Yale Health Center will not be affected if I do not sign this form.
    6.    l understand that J can Iequest a copy of this form after Tsign it
    7.    I understand that in compliance with CT general statute, JwiJI pay a fee of$0.65 per page.

By signing below, I acknowledge that I have read and understand this Authorization.
_ _ _ __ _ __ _ __ _ ____ _ _                          OR _ __ _ __ __ __ _ __ __ _
Signature of Patient                          Date           Parent/Legal Guardian/Authorized Person            Date


                                                                    Relationship to Patient


                                                                                                                         Rev. 1/11
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                  AUTHORIZATION TO DISCLOSE HEALTH INFORMATION

Patient Name: _ _ _ _ _ _ _ _ _ _ _ __                     Social Security#: _ _ _ _ _ _ _ _ _ _ _ __

Date of Birth: _ _ _ _ _ _ _ Date of Admission/ Specific Treatment Date(s): _ _ _ _ _ __

AKA (other names): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

I hereby authorize ________________ to disclose my individually identifiable
health information to Donahue, Durham & Noonan, PC. in the manner described below.

                                   Mail (provide address): Donahue, Durham & Noonan, PC., 741
1.   Information should be     X   Boston Post Road, Suite 306, Guilford, CT 06437
     delivered via
        (select one)
                                   Fax (provide fax number):

                                   Pick-Up (provide name of individual picking up information):

                                   Continuation of Medical Care               X     Attorney
2.   Purpose of this               Substantiation of Payment Claims                 Personal Use
     disclosure (check one)        Other (specify):

                               X   Emergency Records                         X      Consultations
3.   Information to be         X   History & Physical                               Physician's Orders
                                                                             X
     disclosed
                               X   Progress Notes                            X      EKG's
     ( check as appropriate)
                               X   Operative Note                            X      Physical Therapy Record
                               X   Laboratory / Pathology Reports            X      Diagnostic Imaging Exams
                               X   Discharge Summary                         X      Substance Abuse Records
                               X   HIV Test Results                          X      Mental Health Records
                               X   Psychotherapy Records                     X      Entire Record
                                   Other (specify):

                                   Parent
4.   If you are the legally
     authorized                    Durable Power of Attorney for HealthCare (attach proof of authority)
     representative of the
     patient, describe the         Legally Authorized Representative (attach proof of authority)
     scope of your
                                   Personal Representative of the Estate (attach proof of authority)
     authority to act on the
     patient' s behalf
                                   Other (specify and attach proof of authority)


5. I understand that if the person or entity that receives the above information is not a health care
   provider or health plan covered by federal privacy regulations, the information described above
   could be redisclosed by such person or entity and will likely no longer be protected by the federal
   privacy regulations.

6. I understand that this authorization is valid for this release only and will expire upon the
   complete processing of this request.

7. A copy of this authorization shall be accepted with the same authority as the original.

Signature of Patient or legally Authorized Representative: _ _ _ _ _ _ _ _ _ _ _ _ _ __

Relationship to Patient: _ _ _ _ _ _ _ _ _ _ _ _ _ __                              Date: _ _ _ _ _ _ _ __
